Case 2:18-cV-O4760-N|QA Document 6 Filed 12/03/18 Page 1 of 4

In the United States District Court for the Eastern District of Pennsylvania

Andrew R. Perrong,
Plaintiff,

v. No. 18-cv-04760-NQA
MS International Enterprises (“MSIE”)
d/b/a “Certified Enrollment Center”
Kashan Charles Riley; Jane Darlene
Riley; Jawad Nesheiwat; & Does 1-100

Defendants.

ORDER
AND NOW, this day of December 2018, after
consideration of Defendant Jawad Nesheiwat’s Motion for Extension of Time to Respond to the
Plaintiff’s Complaint, and any response thereto it is HEREBY ORDERED that the Motion is
GRANTED. Defendant Jawad Nesheiwat shall file his response to Plaintiff’s Complaint (Doc.

1) on or before December 17, 2018.

By the Court:

 

Hon. Nitza I. Quinones Alejandro
United States District Judge

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In the United States District Court for the Eastern District of Pennsylvania

Andrew R. Perrong,
Plaintiff,

v. No. 18-cv-04760-NQA
MS International Enterprises (“MSIE”)
d/b/a “Certified Enrollment Center”
Kashan Charles Riley; Jane Darlene
Riley; Jawad Nesheiwat; & Does 1-100

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Defendants.

Defendant Jawad Nesheiwat’s
Motion for Extension of Time to Rcsr)ond to the Plaintifl"s Complaint

Now comes Defendant Jawad Nesheiwat, by and through his undersigned counsel, and
respectfully moves the Court to extend by fourteen (14) days his deadline to respond to the
Plaintiff’s Complaint (Doc. l), averring in support thereof as follows:

l. Plaintiff filed a Complaint on November 2, 2018 (Doc. l).

2. Plaintiff effectuated service of the Complaint on Defendant Jawad Nesheiwat on
November l3, 2018.

3. The current deadline for Defendant Jawad Nesheiwat to flle a response to the
Complaint is December 3, 2018.

4. Defendant, who has recently retained the undersigned counsel, respectfully
requests an additional fourteen (l4) days to file a response to the Complaint.

5. Plaintiff, Who is pro se, does not object to the Defendant’s requested relief and
Defendant Nesheiwat has agreed to Waive any potential defense(s) related to service of the

Complaint (but explicitly reserved any potential defense(s) as to personal jurisdiction).

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WHEREFORE, Defendant Jawad Nesheiwat respectfully requests the Court to:
a. Grant this Motion;
b. Extend the time for the Defendant to file his response to the Complaint by
fourteen (14) days; and
c. Grant such further relief that the Court deems just and equitable.
Respectfully submitted,

/ _ f / _
Dated: December 3, 2018 %O//a/M/\F[C %CUM/J).Y'/QJ

Marisa kachel De Feo (316123)

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Attorneyfor Defendants

MS International Enterprz`ses d/b/a Certi/z`ea’
Enrollment Center, Kashan Charles Riley, Jane
Darlene Riley, and Jawad Nesheiwat

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Certificate of Service
I hereby certify that on the date set forth below, I caused a true and correct copy of the

foregoing document to be served upon the following via the Court’s Electronic Case Filing

system:
Andrew R. Perrong
1657 The Fairway #131
Jenkintown, PA 19046
Pro Se Plaintijj‘"
Dated: December 3, 2018 /s/ Marisa Rachcl De Feo

 

Marisa Rachel De Feo

